     Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22               Page 1 of 72 PageID 12



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

SANDRA LOYOLA                                    §
                                                 §
           PLAINTIFF,
                                                 §
                                                 §
v.
                                                 §
                                                 §
WALMART, INC., Individually and/
                                                 §
or d/b/a WALMART
                                                 §
SUPERCENTER #4503, WAL-MART
                                                 §
STORES TEXAS, LLC, Individually
                                                 §
and/or d/b/a WALMART
                                                 §
SUPERCENTER #4503, WAL-MART
                                                 §      CIVIL ACTION NO. _______________
REALTY COMPANY, Individually
                                                 §
and/or d/b/a WALMART
                                                 §
SUPERCENTER #4503, WAL-MART
                                                 §
ASSOCIATES, INC., Individually
                                                 §
and/or d/b/a WALMART
                                                 §
SUPERCENTER #4503 , WALMART
                                                 §
REAL ESTATE BUSINESS
                                                 §
TRUST, Individually and/or d/b/a
                                                 §
WALMART SUPERCENTER #4503
                                                 §
and EDWARD TAFOYA,
                                                 §
       DEFENDANTS.


               INDEX OF STATE COURT PLEADINGS AND FILING DATES



 TAB                                         DOCUMENT                                    DATE

      1.     State Court Docket Sheet of the 95th Judicial District, Dallas, County   08/04/2022
             Texas for Cause No. DC-22-06210
      2.     Plaintiff’s Original Petition                                            06/09/2022
      3.     Citation Issued for Wal-Mart Stores Texas, LLC Individually and/or       06/23/222
             d/b/a Walmart Supercenter #4530
      4.     Citation Issued for Wal-Mart Real Estate Business Trust Individually     06/23/2022
             and/or d/b/a Walmart Supercenter #4530
      5.     Citation Issued for Walmart Inc. Individually and/or d/b/a Walmart       06/23/2022
             Supercenter #4530
      6.     Citation Issued for Edward Tafoya                                        06/23/2022


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    7.    Citation Issued Walmart Associates Inc., Individually and/or d/b/a     06/23/2022
          Walmart Supercenter #4530
    8.    Citation Issued Walmart Realty Company, Individually and/or d/b/a      06/23/2022
          Walmart Supercenter #4530
    9.    Executed Citation Walmart Associates Inc., Individually and/or d/b/a   07/11/2022
          Walmart Supercenter #4530
    10.   Executed Citation Walmart Realty Company, Individually and/or          07/11/2022
          d/b/a Walmart Supercenter #4530
    11.   Executed Citation Wal-Mart Stores Texas, LLC Individually and/or       07/11/2022
          d/b/a Walmart Supercenter #4530
    12.   Executed Citation Walmart Inc. Individually and/or d/b/a Walmart       07/11/2022
          Supercenter #4530
    13.   Executed Citation Wal-Mart Real Estate Business Trust Individually     07/11/2022
          and/or d/b/a Walmart Supercenter #4530
    14.   Wal-Mart’s Original Answer                                             08/02/2022
    15.   Demand for Jury                                                        08/02/2022




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                 TAB NO. 2
                                                                                                                                        FILED
             6 CIT   ESERVE                                                                                                   6/9/2022 9:24 AM
                                                                                                                                 FELICIA PITRE
     Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22                                    Page 12 of 72 PageID 23              DISTRICT CLERK
                                                                                                                            DALLAS 00., TEXAS
                                                                                                                        Stephanie Clark DEPUTY

                                                                          DC-22-0621 0
                                  CAUSE NO.

     SANDRA LOYOLA                                                                       IN THE DISTRICT COURT




                                              §§§§§§§§§§§§§§§§§§§§§§§§§
     Plaintiff,




     WALMART, INC., Individually and/                                                95th
     or       d/b/a        WALMART
     SUPERCENTER #4503, WAL-MART
     STORES TEXAS, LLC, Individually                                                         JUDICIAL DISTRICT
     and/0r        d/b/a WALMART
     SUPERCENTER #4503, WAL-MART
     REALTY COMPANY, Individually
     and/or        d/b/a   WALMART
     SUPERCENTER #4503, WAL-MART
     ASSOCIATES, INC., Individually
     and/0r d/b/a WALMART
     SUPERCENTER #4503 , WAL-
     MART REAL ESTATE BUSINESS
     TRUST, Individually and/0r       d/b/a
     WALMART SUPERCENTER              #4503
     and EDWARD TAFOYA,
     Defendants.                                                                         DALLAS COUNTY, TEXAS


                              PLAINTIFF’S ORIGINAL PETITION


TO THE HONORABLE JUDGE OF SAID COURT:

          COMES NOW, Plaintiff and for cause of action would show the Court as follows:

1.        DISCOVERY CONTROL PLAN

1.01      Plaintiff intends for this lawsuit to be controlled by Discovery Control Plan, Level 3,

Texas Rules of Civil Procedure.
PLAINTIFF’S ORIGINAL PETITION                                                                         Page   1   of 9
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2.       PARTIES

2.01     Plaintiff is a resident of Texas. The last three digits of her social security are 148 and the

last three digits of her Texas driver’s license are 331.

2.02     Defendant WALMART, INC., Individually and/or D/B/A WALMART                 SUPERCENTER

#4503 is a foreign corporation which at all times conducted business in the State of Texas and is


subject to jurisdiction in Texas as it has committed a tort in Texas. Said Defendant may be served

Via private process server, through its registered agent for service as follows:   CT Corporation

System, 1999 Bryan St., Ste. 900, Dallas, Texas 75201. Issuance of citation is reguested at this

m.
2.03     Defendant WAL-MART STORES            TEXAS, LLC, Individually and/or D/B/A WALMART

SUPERCENTER #4503           is a foreign for-proﬁt Limited Liability Company authorized to conduct

business in the State   of Texas and is subject to jurisdiction in Texas as it has committed a tort in

Texas. Said Defendant may be served via private process server, through its registered agent for

service as follows:   CT Corporation System,    1999 Bryan St., Ste. 900, Dallas, Texas 75201.

Issuance of citation is reguested at this time.

2.04     Defendant WAL-MART         REALTY COMPANY, Individually and/or D/B/A WALMART

SUPERCENTER #4503           is a foreign corporation which at all times conducted business in the

State of Texas and is subject to jurisdiction in Texas as it has committed a tort in Texas. Said

Defendant may be served via private process server, through its registered agent for service as

follows:   CT Corporation System,    1999 Bryan St., Ste. 900, Dallas, Texas 75201. Issuance of

citation is reguested at this time.


PLAINTIFF’S ORIGINAL PETITION                                                            Page 2 of 9
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2.05     Defendant WAL-MART ASSOCIATES, INC., Individually and/or D/B/A WALMART

SUPERCENTER #4503           is a foreign corporation which at all times conducted business in the

State of Texas and is subject to jurisdiction in Texas as it has committed a tort in Texas. Said

Defendant may be served Via private process server, through its registered agent for service as

follows:   CT Corporation System,    1999 Bryan St., Ste. 900, Dallas, Texas 75201. Issuance of

citation is reguested at this time.

2.06     Defendant WAL-MART        REAL ESTATE BUSINESS TRUST, Individually and/or D/B/A

WALMART SUPERCENTER #4503 is a foreign corporation which at all times conducted

business in the State   of Texas and is subject to jurisdiction in Texas as it has committed a tort in

Texas. Said Defendant may be served via private process server, through its registered agent for

service as follows:   CT Corporation System,    1999 Bryan St., Ste. 900, Dallas, Texas 75201.

Issuance of citation is requested at this time.

2.07     Defendant    EDWARD TAFOYA,        is an individual who is a resident   of Texas. He may be

served via private process server at his place of business: Walmart Supercenter #4503, 2650 S.

State Highway 161, Grand Prairie,     TX   75052. Issuance of citation is reguested at this time.

3.       VENUE AND JURISDICTION

3.01     Venue is proper in Dallas County, Texas, pursuant to §15.002 et. seq. of the Texas Civil

Practices & Remedies Code in that the collision made the basis of this lawsuit occurred in Dallas

County. This Court has jurisdiction over this lawsuit as the amounts sought herein are within the

jurisdictional limits of this Court. While the amount of damages to be awarded will be the




PLAINTIFF’S ORIGINAL PETITION                                                           Page 3 of 9
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decision made by a jury of Plaintiff’s peers, to comply with T.R.C.P. 47, as revised, Plaintiff

states that damages sought are pursuant to Rule 47(c)(4). Plaintiff seeks monetary relief over


 $1,000,000 and a judgment for all the other relief to which Plaintiff may be

 entitled.

 BACKGROUND FACTS

4.01    On   JUNE   10, 2020,   Plaintiff was lawfully on the premises of the Walmart Supercenter

#4503 located at 2650 S. State Highway 161, Grand Prairie,          TX   75052 as a customer and/or

invitee when on said premises she stepped upon a wet/slippery and/or otherwise unsafe/

improperly maintained ﬂoor and fell. As a result of Defendants' negligent acts, including but not

limited to, its failure to maintain safe ﬂoor provided to customers on the premises in a safe

condition; to adequately warn the public of the unsafe condition existing on the premises; and

negligently maintaining the subject premises ﬂoor, and as stated herein below, Plaintiff sustained

serious, debilitating and long-term/life long catastrophic injuries.

4.02    At all relevant times, Plaintiff was   free from any contributory negligence.

4.03    Because Defendants were in exclusive control over the premises at the time of this injury,

Plaintiff relies on the doctrine of res ipsa loquitur in that Plaintiff will show that the character of

the occurrence giving rise to this litigation is such that it would not have happened in the absence


of negligence, and that the maintenance and safety of the facility was within the exclusive

control of the Defendants at the time of the negligence occurred.




PLAINTIFF’S ORIGINAL PETITION                                                           Page 4 of 9
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5.       CAUSES OF ACTION

COUNT I: NEGLIGENCE OF DEFENDANTS

5.01     Defendants' had a duty to exercise the degree of care that a reasonably careful business

would use to avoid harm to others under circumstances similar to those described herein.

Plaintiffs injuries were proximately caused by Defendants' negligent, careless, and reckless

disregard of said duty. The negligent, careless, and reckless disregard of Defendants' conduct

consisted of, but is not limited to, the following acts and omissions:

                 A.     Defendants failed to keep a proper lookout for Plaintiffs
                        safety that would have been maintained by a business
                        exercising ordinary prudence under the same similar
                        circumstances;

                 B.     Defendants failed to maintain the ﬂooring, in a condition
                        as a business exercising ordinary prudent under the same
                        or similar circumstances would have;

                 C.     Defendants failed to instruct its employees to warn the
                        public of a wet/ slipper and/or unsafe ﬂooring area in a way
                        that a business exercising ordinary prudent care would
                        have done;

                 D.     Defendants failed to post signs warning of the
                        unreasonable danger as a business exercising ordinary
                        prudent care would have done under the same or similar
                        circumstances;

                 E.     Defendants failed to hire and train its employees and/or
                        contractors regarding proper safety protocols when
                        causing a dangerous condition on the premises, as a
                        business exercising ordinary prudent under the same or
                        similar circumstances would have;

                 F.     Defendants failed to instruct its employees and/or
                        contractors to properly warn patrons of the potential
                        danger, as a business exercising ordinary prudent under

PLAINTIFF’S ORIGINAL PETITION                                                      Page 5 of 9
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                        the same or similar circumstances would have; and


                G.      Defendants failed to monitor and supervise its employees
                        and/or contractors to properly maintain the ﬂooring as a
                        business exercising ordinary care would have done.

5.02   Each of the foregoing acts and omissions, singularly or in combination with others,

constitute negligence which proximately caused Plaintiff’s damages alleged herein.

COUNT II: PREMISES LIABILITY

5.03   Defendants owned, operated, managed or were in control of the property in question.

Defendants knew or should have known that Plaintiff, or someone similarly situated to the

Plaintiff, would be a licensee or invitee on the premises, and as such, had a duty to the Plaintiff.

Defendants breached their duty by failing to refrain from injuring Plaintiff willfully, wantonly or


through gross negligence; Defendants breached their duty by allowing an unsafe condition to

exist that, through the exercise of ordinary care, was known or should have been known;

Defendants breached their duty by failing to warn Plaintiff of an unsafe condition existing on

their property; Defendants breached their duty by failing to properly maintain the ﬂoors on the


premises; Defendants breached their duty by failing to keep the premises reasonably safe;

Defendants breached their duty by failing to exercise ordinary care; Defendants breached their


duty by failing to inspect the ﬂooring provided to customers on the premises to discover latent

defects; Defendants breached their duty by failing to reduce or eliminate and unreasonable risk of

harm on the premises; and as a result Plaintiff was caused to encounter an unreasonable risk of


harm/injury and proximately caused to sustain injuries to her body as alleged herein.




PLAINTIFF’S ORIGINAL PETITION                                                       Page 6 of 9
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5.04     Each of the foregoing acts and omissions, singularly or in combination with others,

constitute negligence which proximately caused Plaintiff’s damages alleged herein.

COUNT III: NEGLIGENT HIRING TRAINING AND/OR SUPERVISION

5.05     Defendants' had a duty to exercise the degree of care that a reasonably careful

business would use to avoid harm to others under circumstances similar to those described herein.

Defendants had a legal duty to hire, train and supervise competent employees and/or

contractors and agents. Defendants breached that duty when defendant negligently hired, trained

and supervised employees and/or contractors who were responsible for servicing and


maintaining the equipment in question causing Plaintiff to fall. Plaintiffs injuries were

proximately caused by Defendants' negligent, careless, and reckless disregard of said duty.

5.06     Each of the foregoing acts and omissions, singularly or in combination with others,

constitute negligence which proximately caused Plaintiff’s damages alleged herein.

COUNT IV: GROSS NEGLIGENCE

5.07     Defendants' acts and/or omissions as described above were such an entire want of care

that said acts and/or omissions were the result   of actual conscious indifference       to the rights,


safety, and/or welfare of Plaintiff.

6.       DAMAGES

6.01     As a proximate cause of the negligence of Defendants,   as alleged above,   Plaintiff suffered

bodily injuries. Plaintiff seeks to recover the following damages:

         a.     Physical pain and suﬁeﬁng in the past;

         b.     Physical pain and suﬁeﬁng in the future;


PLAINTIFF’S ORIGINAL PETITION                                                          Page 7 of 9
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          c.     Mental anguish in the past;

          d.     Mental anguish in the future;

          e.     Physical impairment in the past;

          f.     Physical impairment in the future;

          g.     Reasonable and necessary medical care and expenses in the past; and

          h.     Reasonable and necessary medical care and expenses in the future;

          i.     Lost income and/or diminished earning capacity in the past;

          j.     Lost income and/or diminished earning capacity in the future.

6.02      Accordingly, Plaintiff seeks recovery for these actual damages as described above against

Defendant for an amount in excess of the minimum jurisdictional limits of this Court.

7.        INTEREST

7.01      Plaintiff seeks to recover both pre- and post-judgment interest at the highest rates allowed

by law.

8.        RE! QUEST FOR JURY TRIAL
8.01      Pursuant to Rule 216, TEXAS RULES 0F CIVIL PROCEDURE, Plaintiff requests a trial by


jury-

9.        NOTICE 0F INTENT

9.01      Plaintiff hereby gives notice of intent to utilize any and all items produced in discovery

in the trial of this matter and the authenticity of such items is self-proven per the Texas Rules of

Civil Procedure 193.7.




PLAINTIFF’S ORIGINAL PETITION                                                          Page 8 of 9
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10.

10.01   Plaintiff prays that Defendants be cited to appear and answer herein, and that upon ﬁnal

determination of these causes of action, Plaintiff receive judgment against Defendants, jointly

and/or severally, awarding Plaintiff as follows:

        a.      Actual damages alleged herein, in an amount in excess of the minimal
                jurisdictional limits of this Court;

        b.      Pre-judgment interest as provided by law;

        c.      Post-judgment interest as provided by law;

        d.      Costs of court; and

        e.      Such other and further relief, at law or in equity, to which Plaintiff may show to
                be justly entitled.




                                              Respectfully submitted,

                                              THE RIVERos LAW FIRM, PLLC

                                                        ﬂﬁ


                                              GABRIEL A. RIVEROS
                                              State Bar No.: 24068864
                                              1925 E. Belt Line Road, Suite 420
                                              Carrollton, TX 75006
                                              Ph. 214-385-6607
                                              Fax 214-593-3628
                                              ATTORNEY FOR PLAINTIFF
                                              gabriel@riveroslawﬁrm.com




PLAINTIFF’S ORIGINAL PETITION                                                     Page 9 of 9
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                 TAB NO. 3
FORM N0. 353—3—CITAT10N
THE STATECase TEXAS
          OF3:22-cv-01698-L                               Document 1-3 Filed 08/04/22            Page 22 of 72 PageID 33       ESERVE
                                                                                                                             CITATION
To: WAL-MART STORES TEXAS, LLC INDIVIDUALLY AND /OR D/B/A
WALMART SUPERCENTER# 4530
BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM                                                                       N0.: DC-22-06210
1999 BRYAN STREET, STE 900
DALLAS TX 75201
                                                                                                                            SANDRA LOVOLA
GREETINGS:
                                                                                                                                   v_8-
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                               WALMART INC.    et al
answer with the clerk who issued this citation by 10 o'clock am. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you. In addition to ﬁling a written answer with the clerk, you may be required to                              IssﬁED
make initial disclosures to the other parties of this suit. These disclosures generally must be made              on this the 23rd day of June, 2022
no later than 30 days after you ﬁle your answer with the clerk. Find out more at
TexasLawHelp.org. Your answer should be addressed to the clerk of the 95th District Court at
600 Commerce Street, Dallas, Texas 75202.                                                                                    FELICIA PITRE
                                                                                                                           Clerk District Courts,
 Said Plaintiff being      SANDRA LOYOLA                                                                                   Dallas County, Texas

Filed in said Court 9th day of June, 2022 against                                                                     By:   GAY LANE, Deputy

 WALMART, INC. INDIVIDUALLY AND/ OR D/B/A WALMART SUPERCENTER #4530                                                        Attorney for Plaintiff
; WAL-MART STORES TEXAS, LLC INDIVIDUALLY AND /OR D/B/A WALMART                                                       GABRIEL A RIVEROS
SUPERCENTER# 4530; WAL-MART REALTY COMPANY INDIVIDUALLY AND/ OR                                                    THE RIVEROS LAW FIRM PLLC
D/B/A WALMART SUPERCENTER# 4530; WAL—MART ASSOCIATES, INC                                                              1925 E BELT LINE RD
INDIVIDUALLY AND/ OR D/B/A WALMART SUPERCENTER# 4530.; WAL-MART                                                             STE 420
REAL ESTATE BUSINESS TRUST INDIVIDUALLY AND/ OR D/B/A WALMART                                                          CARROLTON TX 75006
SUPERCENTER# 4530; EDWARD TAFOYA                                                                                             214-385-6607
                                                                                                                      gabriel@riveroslawﬁrm.com
For Suit, said suit being numbered DC-22—06210 the nature of which demand is as follows:                                    DALLAS COUNTY
Suit on OTHER PERSONAL INJURY etc. as shown on said petition, a copy of which accompanies                                    SERVICE FEES
this citation.   If this citation is not served, it shall be returned unexecuted.                                               NOT PAID

WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
Given under my hand and the Seal of said Court at ofﬁce on this the 23rd day 0f June, 2022

 ATTEST: FELICIA PITRE,
 Clerk of the District Courts of Dallas County, Texas
                                                                                    \   I .v'w


           By                all                   ,   Deputy
                                                                                           k\


            GAY LANE
                        Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22                         Page 23 of 72 PageID 34

                                                                          OFFICER'S RETURN
Cause No. DC-22-06210

Court No.: 95th District Court

Style: SANDRA LOYOLA
vs.
WALMART, INC,       et    a1



Came to hand on the                                       day of                                      ,   20          , at                o‘clock                 .M.
Executed at                                                                               ,   within the County of                                                 at
                o'clock               .M. on the                            day of                                                       ,   20                     ,

by                             delivering                            to                        the                           within                        named




each, in person, a true copy       of this Citation together with         the accompanying copy      of this pleading, having ﬁrst endorsed on same date of
delivery. The distance actually traveled by me in serving such process was                            miles and my fees are as follows:           To certify which
witness my hand.
                    For serving Citation          $
                    For mileage                   $                          of                           County,
                    For Notary                     $                         By                                                       Deputy
                                                       (Must be veriﬁed    if served outside the State of Texas.)
     Sigied and sworn   to by the said                                                   before me this         day of                                        ,
                                             20             ,   to certify which witness my hand and seal of ofﬁce.




                                                                                              Notary Public                    County
Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22   Page 24 of 72 PageID 35




                 TAB NO. 4
FORM N0. 353—3—CITAT10N
THE STATECase TEXAS
          OF3:22-cv-01698-L                               Document 1-3 Filed 08/04/22            Page 25 of 72 PageID 36       ESERVE
                                                                                                                             CITATION
To:   WAL-MART REAL ESTATE BUSINESS TRUST INDIVIDUALLY AND /OR
D/B/A WALMART SUPERCENTER# 4530
BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM                                                                       N0.: DC-22-06210
1999 BRYAN STREET, STE 900
DALLAS TX 75201
                                                                                                                            SANDRA LOVOLA
GREETINGS:
                                                                                                                                   v_8-
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                               WALMART INC.    et al
answer with the clerk who issued this citation by 10 o'clock am. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you. In addition to ﬁling a written answer with the clerk, you may be required to                              IssﬁED
make initial disclosures to the other parties of this suit. These disclosures generally must be made              on this the 23rd day of June, 2022
no later than 30 days after you ﬁle your answer with the clerk. Find out more at
TexasLawHelp.org. Your answer should be addressed to the clerk of the 95th District Court at
600 Commerce Street, Dallas, Texas 75202.                                                                                    FELICIA PITRE
                                                                                                                           Clerk District Courts,
 Said Plaintiff being      SANDRA LOYOLA                                                                                   Dallas County, Texas

Filed in said Court 9th day of June, 2022 against                                                                     By:   GAY LANE, Deputy

 WALMART, INC. INDIVIDUALLY AND/ OR D/B/A WALMART SUPERCENTER #4530                                                        Attorney for Plaintiff
; WAL-MART STORES TEXAS, LLC INDIVIDUALLY AND /OR D/B/A WALMART                                                       GABRIEL A RIVEROS
SUPERCENTER# 4530; WAL-MART REALTY COMPANY INDIVIDUALLY AND/ OR                                                    THE RIVEROS LAW FIRM PLLC
D/B/A WALMART SUPERCENTER# 4530; WAL—MART ASSOCIATES, INC                                                              1925 E BELT LINE RD
INDIVIDUALLY AND/ OR D/B/A WALMART SUPERCENTER# 4530.; WAL-MART                                                             STE 420
REAL ESTATE BUSINESS TRUST INDIVIDUALLY AND/ OR D/B/A WALMART                                                          CARROLTON TX 75006
SUPERCENTER# 4530; EDWARD TAFOYA                                                                                             214-385-6607
                                                                                                                      gabriel@riveroslawﬁrm.com
For Suit, said suit being numbered DC-22—06210 the nature of which demand is as follows:                                    DALLAS COUNTY
Suit on OTHER PERSONAL INJURY etc. as shown on said petition, a copy of which accompanies                                    SERVICE FEES
this citation.   If this citation is not served, it shall be returned unexecuted.                                               NOT PAID

WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
Given under my hand and the Seal of said Court at ofﬁce on this the 23rd day 0f June, 2022

 ATTEST: FELICIA PITRE,
 Clerk of the District Courts of Dallas County, Texas
                                                                                    \   I .v'w


           By                all                   ,   Deputy
                                                                                           k\


            GAY LANE
                        Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22                         Page 26 of 72 PageID 37

                                                                          OFFICER'S RETURN
Cause No. DC-22-06210

Court No.: 95th District Court

Style: SANDRA LOYOLA
vs.
WALMART, INC,       et    a1



Came to hand on the                                       day of                                      ,   20          , at                o‘clock                 .M.
Executed at                                                                               ,   within the County of                                                 at
                o'clock               .M. on the                            day of                                                       ,   20                     ,

by                             delivering                            to                        the                           within                        named




each, in person, a true copy       of this Citation together with         the accompanying copy      of this pleading, having ﬁrst endorsed on same date of
delivery. The distance actually traveled by me in serving such process was                            miles and my fees are as follows:           To certify which
witness my hand.
                    For serving Citation          $
                    For mileage                   $                          of                           County,
                    For Notary                     $                         By                                                       Deputy
                                                       (Must be veriﬁed    if served outside the State of Texas.)
     Sigied and sworn   to by the said                                                   before me this         day of                                        ,
                                             20             ,   to certify which witness my hand and seal of ofﬁce.




                                                                                              Notary Public                    County
Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22   Page 27 of 72 PageID 38




                 TAB NO. 5
FORM N0. 353—3—CITAT10N
THE STATECase TEXAS
          OF3:22-cv-01698-L                                   Document 1-3 Filed 08/04/22             Page 28 of 72 PageID 39       ESERVE
                                                                                                                                  CITATION
To:      WALMART INC. INDIVIDUALLY AND / OR D/B/A WALMART SUPERCENTER #4530
         BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM
         1999 BRYAN STREET, STE 900
                                                                                                                                 N0.: DC-22-06210
         DALLAS TX 75201

GREETINGS:
                                                                                                                                 SANDRA LOVOLA
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written
                                                                                                                                        v_8-
answer with the clerk who issued this citation by 10 o'clock am. of the Monday next following the                               WALMART INC.    et al
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you. In addition to ﬁling a written answer with the clerk, you may be required to
make initial disclosures to the other parties of this suit. These disclosures generally must be made                                 IssfJED
no later than 30 days after you ﬁle your answer with the clerk. Find out more at                                       on this the 23rd day of June, 2022
TexasLawHelp.org. Your answer should be addressed to the clerk of the 95th District Court at
600 Commerce Street, Dallas, Texas 75202.
                                                                                                                                  FELICIA PITRE
 Said Plaintiff being      SANDRA LOYOLA                                                                                        Clerk District Courts,
                                                                                                                                Dallas County, Texas
Filed in said Court 9th day of June, 2022 against
                                                                                                                           By:   GAY LANE, Deputy
 WALMART, INC. INDIVIDUALLY AND/ OR D/B/A WALMART SUPERCENTER #4530
; WAL-MART STORES TEXAS, LLC INDIVIDUALLY AND IOR D/B/A WALMART                                                                 Attorney for Plaintiff
SUPERCENTER# 4530; WAL-MART REALTY COMPANY INDIVIDUALLY AND/ OR                                                            GABRIEL A RIVEROS
D/B/A WALMART SUPERCENTER# 4530; WAL-MART ASSOCIATES, INC                                                               THE RIVEROS LAW FIRM PLLC
INDIVIDUALLY AND/ OR D/B/A WALMART SUPERCENTER# 4530.; WAL-MART                                                             1925 E BELT LINE RD
REAL ESTATE BUSINESS TRUST INDIVIDUALLY AND/ OR D/B/A WALMART                                                                    STE 420
SUPERCENTER# 4530; EDWARD TAFOYA                                                                                            CARROLTON TX 75006
                                                                                                                                  214-385-6607
For Suit, said suit being numbered DC-22—06210 the nature of which demand is as follows:                                   gabriel@riveroslawﬁrm.com
Suit on OTHER PERSONAL INJURY etc. as shown on said petition, a copy of which accompanies                                        DALLAS COUNTY
this citation.   If this citation is not served,   it shall be returned unexecuted.                                               SERVICE FEES
                                                                                                                                     NOT PAID
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
Given under my hand and the Seal of said Court at ofﬁce 0n this the 23rd day of June, 2022

 ATTEST: FELICIA PITRE,
 Clerk of the District Courts of Dallas County, Texas
                                                                                      “I“
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           By
                              5
                                  lj                   ,   Deputy
            GAY LANE
                        Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22                         Page 29 of 72 PageID 40

                                                                          OFFICER'S RETURN
Cause No. DC-22-06210

Court No.: 95th District Court

Style: SANDRA LOYOLA
vs.
WALMART, INC,       et    a1



Came to hand on the                                       day of                                      ,   20          , at                o‘clock                 .M.
Executed at                                                                               ,   within the County of                                                 at
                o'clock               .M. on the                            day of                                                       ,   20                     ,

by                             delivering                            to                        the                           within                        named




each, in person, a true copy       of this Citation together with         the accompanying copy      of this pleading, having ﬁrst endorsed on same date of
delivery. The distance actually traveled by me in serving such process was                            miles and my fees are as follows:           To certify which
witness my hand.
                    For serving Citation          $
                    For mileage                   $                          of                           County,
                    For Notary                     $                         By                                                       Deputy
                                                       (Must be veriﬁed    if served outside the State of Texas.)
     Sigied and sworn   to by the said                                                   before me this         day of                                        ,
                                             20             ,   to certify which witness my hand and seal of ofﬁce.




                                                                                              Notary Public                    County
Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22   Page 30 of 72 PageID 41




                 TAB NO. 6
FORM NO. 353-3—CITATION
                           Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22                   Page 31 of 72 PageID 42
THE STATE OF TEXAS                                                                                                          ESERVE
                                                                                                                          CITATION
To:      EDWARD TAFOYA
         2650 s STATE HIGHWAY 161
         GRAND PRAIRIE TX 75052
                                                                                                                         No.: DC-22-06210
GREETINGS:
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written
                                                                                                                         SANDRA LOVOLA
answer with the clerk who issued this citation by 10 o'clock am. of the Monday next following the
                                                                                                                              Ls.
expiration of twenty days after you were served this citation and petition, a default judgment may                      WALMART INC.    et   a1
be taken against you. In addition to ﬁling a written answer with the clerk, you may be required to
make initial disclosures to the other parties of this suit. These disclosures generally must be made
no later than 30 days after you ﬁle your answer with the clerk. Find out more at                                             IssfJED
TexasLawHelp.org. Your answer should be addressed to the clerk of the 95th District Court at                   on this the 23rd day of June, 2022
600 Commerce Street, Dallas, Texas 75202.

 Said Plaintiff being      SANDRA LOYOLA                                                                                  FELICIA PITRE
                                                                                                                        Clerk District Courts,
Filed in said Court 9th day of June, 2022 against                                                                       Dallas County, Texas

 WALMART, INC. INDIVIDUALLY AND/ OR D/B/A WALMART SUPERCENTER# 4530                                                By:   GAY LANE, Deputy
; WAL-MART STORES TEXAS, LLC INDIVIDUALLY AND IOR D/B/A WALMART
SUPERCENTER# 4530; WAL-MART REALTY COMPANY INDIVIDUALLY AND/ OR                                                         Attorney for Plaintiff
D/B/A WALMART SUPERCENTER# 4530; WAL—MART ASSOCIATES, INC                                                          GABRIEL A RIVEROS
INDIVIDUALLY AND/ OR D/B/A WALMART SUPERCENTER# 4530.; WAL-MART                                                 THE RIVEROS LAW FIRM PLLC
REAL ESTATE BUSINESS TRUST INDIVIDUALLY AND/ OR D/B/A WALMART                                                       1925 E BELT LINE RD
SUPERCENTER# 4530; EDWARD TAFOYA                                                                                         STE 420
                                                                                                                    CARROLTON TX 75006
For Suit, said suit being numbered DC-22—06210 the nature of which demand is as follows:                                  214-385-6607
Suit on OTHER PERSONAL INJURY etc. as shown on said petition, a copy of which accompanies                          gabriel@riveroslawﬁrm.com
this citation.   If this citation is not served,   it shall be returned unexecuted.                                      DALLAS COUNTY
                                                                                                                          SERVICE FEES
WITNESS: FELICM PITRE, Clerk of the District Courts of Dallas, County Texas.                                                 NOT PAID
Given under my hand and the Seal of said Court at ofﬁce on this the 23rd day 0f June, 2022

 ATTEST: FELICLA PITRE,
 Clerk of the District Courts of Dallas County, Texas
                                                                                      \   I


           By                 331                      ,   Deputy
            GAY LANE
                        Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22                         Page 32 of 72 PageID 43

                                                                          OFFICER'S RETURN
Cause No. DC-22-06210

Court No.: 95th District Court

Style: SANDRA LOYOLA
vs.
WALMART, INC,       et    a1



Came to hand on the                                       day of                                      ,   20          , at                o‘clock                 .M.
Executed at                                                                               ,   within the County of                                                 at
                o'clock               .M. on the                            day of                                                       ,   20                     ,

by                             delivering                            to                        the                           within                        named




each, in person, a true copy       of this Citation together with         the accompanying copy      of this pleading, having ﬁrst endorsed on same date of
delivery. The distance actually traveled by me in serving such process was                            miles and my fees are as follows:           To certify which
witness my hand.
                    For serving Citation          $
                    For mileage                   $                          of                           County,
                    For Notary                     $                         By                                                       Deputy
                                                       (Must be veriﬁed    if served outside the State of Texas.)
     Sigied and sworn   to by the said                                                   before me this         day of                                        ,
                                             20             ,   to certify which witness my hand and seal of ofﬁce.




                                                                                              Notary Public                    County
Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22   Page 33 of 72 PageID 44




                 TAB NO. 7
FORM N0. 353—3—CITAT10N
THE STATECase TEXAS
          OF3:22-cv-01698-L                                   Document 1-3 Filed 08/04/22     Page 34 of 72 PageID 45       ESERVE
                                                                                                                          CITATION
To:      WALMART ASSOCIATES INC, INDIVIDUALLY
         AND / OR D/B/A WALMART SUPERCENTER #4530
         BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM                                                           N0.: DC-22-06210
         1999 BRYAN STREET, STE 900
         DALLAS TX 75201

GREETINGS:                                                                                                               SANDRA LOVOLA
                                                                                                                                v_8-
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                            WALMART INC.    et al
answer with the clerk who issued this citation by 10 o'clock am. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you. In addition to ﬁling a written answer with the clerk, you may be required to                           IssﬁED
make initial disclosures to the other parties of this suit. These disclosures generally must be made           on this the 23rd day of June, 2022
no later than 3O days after you ﬁle your answer with the clerk. Find out more at
TexasLawHelp.org. Your answer should be addressed to the clerk of the 95th District Court at
600 Commerce Street, Dallas, Texas 75202.                                                                                 FELICIA PITRE
                                                                                                                        Clerk District Courts,
 Said Plaintiff being      SANDRA LOYOLA                                                                                Dallas County, Texas

Filed in said Court 9th day of June, 2022 against                                                                  By:   GAY LANE, Deputy

 WALMART, INC. INDIVIDUALLY AND/ OR D/B/A WALMART SUPERCENTER #4530                                                     Attorney for Plaintiff
; WAL-MART STORES TEXAS, LLC INDIVIDUALLY AND /OR D/B/A WALMART                                                    GABRIEL A RIVEROS
SUPERCENTER# 4530; WAL-MART REALTY COMPANY INDIVIDUALLY AND/ OR                                                 THE RIVEROS LAW FIRM PLLC
D/B/A WALMART SUPERCENTER# 4530; WAL—MART ASSOCIATES, INC                                                           1925 E BELT LINE RD
INDIVIDUALLY AND/ OR D/B/A WALMART SUPERCENTER# 4530.; WAL-MART                                                          STE 420
REAL ESTATE BUSINESS TRUST INDIVIDUALLY AND/ OR D/B/A WALMART                                                       CARROLTON TX 75006
SUPERCENTER# 4530; EDWARD TAFOYA                                                                                          214-385-6607
                                                                                                                   gabriel@riveroslawﬁrm.com
For Suit, said suit being numbered DC-22—06210, the nature of which demand is as follows:                                DALLAS COUNTY
Suit on OTHER PERSONAL INJURY etc. as shown on said petition, a copy of which accompanies                                 SERVICE FEES
this citation.   If this citation is not served,   it shall be returned unexecuted.                                          NOT PAID
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
Given under my hand and the Seal of said Court at ofﬁce on this the 23rd day 0f June, 2022

 ATTEST: FELICIA PITRE,
 Clerk of the District Courts of Dallas County, Texas
                                                                                      \   l


           By                                          ,   Deputy
            GAY LANE
                        Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22                         Page 35 of 72 PageID 46

                                                                          OFFICER'S RETURN
Cause No. DC-22-06210

Court No.: 95th District Court

Style: SANDRA LOYOLA
vs.
WALMART, INC,       et    a1



Came to hand on the                                       day of                                      ,   20          ,    at                o'clock                 .M.
Executed at                                                                               ,   Within the       County of                                              at
                o'clock               .M. on the                            day of                                                          ,   20                     ,

by                             delivering                            to                        the                              within                        named




each, in person, a true copy       of this Citation together with         the accompanying copy      of this pleading, having ﬁrst endorsed on same date of
delivery. The distance actually traveled by me in serving such process was                            miles and my fees are as follows:              To certify which
witness my hand.
                    For serving Citation          $
                    For mileage                   $                          of                           County,
                    For Notary                     $                         By                                                          Deputy
                                                       (Must be veriﬁed    if served outside the State of Texas.)
     Sigied and sworn   to by the said                                                   before me this         day of                                           ,

                                             20             ,   to certify which witness my hand and seal of ofﬁce.




                                                                                              Notary Public                       County
Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22   Page 36 of 72 PageID 47




                 TAB NO. 8
FORM N0. 353—3—CITAT10N
THE STATECase TEXAS
          OF3:22-cv-01698-L                                   Document 1-3 Filed 08/04/22     Page 37 of 72 PageID 48       ESERVE
                                                                                                                          CITATION
To:      WALMART REALTY COMPANY, INDIVIDUALLY
         AND / OR D/B/A WALMART SUPERCENTER #4530
         BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM                                                           N0.: DC-22-06210
         1999 BRYAN STREET, STE 900
         DALLAS TX 75201

GREETINGS:                                                                                                               SANDRA LOVOLA
                                                                                                                                v_8-
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                            WALMART INC.    et al
answer with the clerk who issued this citation by 10 o'clock am. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you. In addition to ﬁling a written answer with the clerk, you may be required to                           IssﬁED
make initial disclosures to the other parties of this suit. These disclosures generally must be made           on this the 23rd day of June, 2022
no later than 3O days after you ﬁle your answer with the clerk. Find out more at
TexasLawHelp.org. Your answer should be addressed to the clerk of the 95th District Court at
600 Commerce Street, Dallas, Texas 75202.                                                                                 FELICIA PITRE
                                                                                                                        Clerk District Courts,
 Said Plaintiff being      SANDRA LOYOLA                                                                                Dallas County, Texas

Filed in said Court 9th day of June, 2022 against                                                                  By:   GAY LANE, Deputy

 WALMART, INC. INDIVIDUALLY AND/ OR D/B/A WALMART SUPERCENTER #4530                                                     Attorney for Plaintiff
; WAL-MART STORES TEXAS, LLC INDIVIDUALLY AND /OR D/B/A WALMART                                                    GABRIEL A RIVEROS
SUPERCENTER# 4530; WAL-MART REALTY COMPANY INDIVIDUALLY AND/ OR                                                 THE RIVEROS LAW FIRM PLLC
D/B/A WALMART SUPERCENTER# 4530; WAL—MART ASSOCIATES, INC                                                           1925 E BELT LINE RD
INDIVIDUALLY AND/ OR D/B/A WALMART SUPERCENTER# 4530.; WAL-MART                                                          STE 420
REAL ESTATE BUSINESS TRUST INDIVIDUALLY AND/ OR D/B/A WALMART                                                       CARROLTON TX 75006
SUPERCENTER# 4530; EDWARD TAFOYA                                                                                          214-385-6607
                                                                                                                   gabriel@riveroslawﬁrm.com
For Suit, said suit being numbered DC-22—06210, the nature of which demand is as follows:                                DALLAS COUNTY
Suit on OTHER PERSONAL INJURY etc. as shown on said petition, a copy of which accompanies                                 SERVICE FEES
this citation.   If this citation is not served,   it shall be returned unexecuted.                                          NOT PAID
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
Given under my hand and the Seal of said Court at ofﬁce on this the 23rd day 0f June, 2022

 ATTEST: FELICIA PITRE,
 Clerk of the District Courts of Dallas County, Texas
                                                                                      \   l


           By                                          ,   Deputy
            GAY LANE
                        Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22                         Page 38 of 72 PageID 49

                                                                          OFFICER'S RETURN
Cause No. DC-22-06210

Court No.: 95th District Court

Style: SANDRA LOYOLA
vs.
WALMART, INC,       et    a1



Came to hand on the                                       day of                                      ,   20          ,    at                o'clock                 .M.
Executed at                                                                               ,   Within the       County of                                              at
                o'clock               .M. on the                            day of                                                          ,   20                     ,

by                             delivering                            to                        the                              within                        named




each, in person, a true copy       of this Citation together with         the accompanying copy      of this pleading, having ﬁrst endorsed on same date of
delivery. The distance actually traveled by me in serving such process was                            miles and my fees are as follows:              To certify which
witness my hand.
                    For serving Citation          $
                    For mileage                   $                          of                           County,
                    For Notary                     $                         By                                                          Deputy
                                                       (Must be veriﬁed    if served outside the State of Texas.)
     Sigied and sworn   to by the said                                                   before me this         day of                                           ,

                                             20             ,   to certify which witness my hand and seal of ofﬁce.




                                                                                              Notary Public                       County
Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22   Page 39 of 72 PageID 50




                 TAB NO. 9
                                                                                                                                                                FILED
                                                                                                                                                     7/11/2022 5:05 PM
                                                                                                                                                     FELICIA PITRE
,   FORM N0. 353—3—CITATION
               Case 3:22-cv-01698-L                          Document 1-3 Filed 08/04/22              Page 40 of 72 PageID 51                      DISTRICT CLERK
                                                                                                                                                DALLAS CO., TEXAS
     THE STATE OF TEXAS                                                                                                           ESERVE     SADAF RAJPUT DEPUTY


     To:     WALMART ASSOCIATES INC, INDIVIDUALLY
                                                                                                                                CITATION
             AND l 0R D/B/A WALMART SUPERCENTER #4530
             BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM
             1999 BRYAN STREET, STE 900                                                                                        No.: DC-22-06210
             DALLAS TX 75201

    GREETINGS:                                                                                                                 SANDRA LOYOLA
    You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                                     V_5-

    answer with the clerk who issued this citation by 10 o'clock am. of the Monday next following the                      WALMART, INC., et al
    expiration of twenty days after you were served this citation and petition, a default judgment may
    be taken against you. In addition to ﬁling a written answer with the clerk, you may be required to
                                                                                                                                  IssﬁED
    make initial disclosures to the other parties of this suit. These disclosures generally must be made
                                                                                                                     on this the 23rd day of June, 2022
    no later than 30 days after you ﬁle your answer with the clerk. Find out more at
    TexasLawHelp.org. Your answer should be addressed to the clerk of the 95th District Court at
    600 Commerce Street, Dallas, Texas 75202.                                                                                   FELICIA PITRE
                                                                                                                            Clerk District Courts,
     Said Plaintiff being    SANDRA LOYOLA                                                                                  Dallas County, Texas

    Filed in said Court 9th day of June, 2022 against                                                                    By:   GAY LANE, Deputy
     WALMART, INC. INDIVIDUALLY AND/ 0R D/B/A WALMART SUPERCENTER #4530                                                     Attorney for Plaintiff
    ; WAL-MART STORES TEXAS, LLC INDIVIDUALLY AND IOR DfB/A WALMART                                                      GABRIEL A RIVEROS
    SUPERCENTER# 4530; WAL—MART REALTY COMPANY INDIVIDUALLY AND/ OR                                                   THE RIVEROS LAW FIRM PLLC
    D/B/A WALMART SUPERCENTER# 4530; WAL—MART ASSOCIATES, INC                                                             1925 E BELT LINE RD
    INDIVIDUALLY AND/ OR D/B/A WALMART SUPERCENTER# 4530.; WAL-MART                                                            STE 420
    REAL ESTATE BUSINESS TRUST INDIVIDUALLY AND/ 0R D/B/A WALMART                                                         CARROLTON TX 75006
    SUPERCENTER# 4530; EDWARD TAFOYA                                                                                            214-385-6607
                                                                                                                         gabriel@riveroslawﬁrm.com
    For Suit, said suit being numbered DC—22—06210, the nature of which demand is as follows:                                  DALLAS COUNTY
    Suit on OTHER PERSONAL INJURY etc. as shown on said petition, a copy of which accompanies
                                                                                                                                SERVICE FEES
    this citation. If this citation is not served, it shall be returned unexecuted.
                                                                                                                                  NOT PAID
    WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
     Given under my hand and the Seal of said Court at ofﬁce on this the 23rd day of June, 2022

     ATTEST: FELICIA PITRE,
     Clerk of the District Courts of Dallas County, Texas
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              By
                               5

                                   i1                ,   Deputy
               GAY LANE
                     Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22                                 Page 41 of 72 PageID 52


                                                                      OFFICER'S RETURN
Cause No. DC-22-O6210

Court No.: 95th District Court

Style: SANDRA     LOYOLA
VS.
WALMART, INC., et a1

Came to hand on the                      Pl,               day of            3M»                        ,   20           22   ,   at   6100        o‘clock         E     .M.


                           5% ﬂ                               &                       U
                                                                                               within the County of                                                          at
Executed at       144‘?                        dggﬁg                                       ,
                                                                                                                                                            319'
                                                                                                                                                       20
      25"        o'clock       f      .M. on the              5—            day of                                                                 ,                          ,


                                                                     to                         the                                    within                          named
by                          delivering


                                        35M

                                                        with the accompanying copy of this pleading, having ﬁrst endorsed on same date
                                                                                                                                        of
each, in person, a true copy of this Citation together
                                                          such process was          miles and my fees are as follows:     To certify which
delivery. The distance actually traveled by me in serving                                                            i




witness my hand.
                      For serving Citation           $
                                                                                                                                  M33 3 “75’
                      For mileage                    $                        of                            County,
                      For Notary                     $                        By                                                                Deputy

                                                         (Must be veriﬁed   if served outside the State of Texas.)
      Signed and sworn to by the said      Pﬁ’ﬁt LAQ 1 lift         \Md                   before me this
                                                                                                                 ‘
                                                                                                           W \ day of
                                                                                                                                        W3,                              ,

                                                20             , to certify which witness my hand
                                                                                                  and seal of office.


                                                                                                ti mm a; ‘m \ «lam/o
                                                                                               Notﬁyﬁublicmm County
                           '3‘! h     CARRIE MICHELLE DEAN
                                           Public. State of Texas
                                    ‘_Notary
                                       Comm. Expires 02-01-2026
                           "Iéér        Nam ID    133563213
                       WV
       Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22          Page 42 of 72 PageID 53
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.




Envelope ID: 66209938
Status as of 7/13/2022 9:53 AM CST

Associated Case Party: SANDRA LOYOLA

Name                BarNumber   Email                        TimestampSubmitted     Status
GABRIELA RIVEROS                gabriel@riveroslawfirm.com   7/11/2022 5:05:08 PM   SENT
Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22   Page 43 of 72 PageID 54




               TAB NO. 10
                                                                                                                                                         FILED
                                                                                                                                              7/11/2022 5:10 PM
                                                                                                                                               FELICIA PITRE
3   FORM N0. 353-3—CITAT10N
               Case 3:22-cv-01698-L                               Document 1-3 Filed 08/04/22   Page 44 of 72 PageID 55                      DISTRICT CLERK

    THE STATE OF TEXAS                                                                                                       ESERVE       DALLAS CO., TEXAS
                                                                                                                                       SADAF RAJPUT DEPUTY
                                                                                                                           CITATION
    To:     WALMART REALTY COMPANY, INDIVIDUALLY
            AND / OR D/B/A WALMART SUPERCENTER #4530
            BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM                                                         No.: DC-22-06210
            1999 BRYAN STREET, STE 900
            DALLAS TX 75201
                                                                                                                          SANDRA LOYOLA
    GREETINGS:                                                                                                                  3m
    You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                      WALMART, INC, et a1
    answer with the clerk who issued this citation by 10 o'clock am. of the Monday next following the
    expiration of twenty days after you were served this citation and petition, a default judgment may
    be taken against you. In addition to ﬁling a written answer with the clerk, you may be required to                        IssﬁED
    make initial disclosures to the other parties 0f this suit. These disclosures generally must be made        on this the 23rd day of June, 2022
    no later than 3O days after you ﬁle your answer with the clerk. Find out more at
    TexasLawHelp.org. Your answer should be addressed to the clerk of the 95th District Court at
    600 Commerce Street, Dallas, Texas 75202.                                                                              FELICIA PITRE
                                                                                                                       Clerk District Courts,
     Said Plaintiff being SANDRA LOYOLA                                                                                Dallas County, Texas

    Filed in said Court 9th day of June, 2022 against                                                               By:   GAY LANE, Deputy

     WALMART, INC. INDIVIDUALLY AND/ OR D/B/A WALMART SUPERCENTER #4530                                                Attorney for Plaintiff
    ; WAL—MART STORES TEXAS, LLC INDIVIDUALLY AND /OR
                                                      D/B/A WALMART                                                 GABRIEL A RIVEROS
    SUPERCENTER# 4530; WAL-MART  REALTY  COMPANY  INDIVIDUALLY AND/ OR                                           THE RIVEROS LAW FIRM PLLC
    D/B/A WALMART SUPERCENTER# 4530; WAL-MART ASSOCIATES, INC                                                        1925 E BELT LINE RD
    INDIVIDUALLY AND/ OR D/B/A WALMART SUPERCENTER# 4530.; WAL—MART                                                         STE 420
    REAL ESTATE BUSINESS TRUST INDIVIDUALLY AND/ OR D/B/A WALMART                                                   CARROLTON TX 75006
    SUPERCENTER# 4530; EDWARD TAFOYA                                                                                         214-385-6607
                                                                                                                    gabriel@riveroslawﬁrm.com
    For Suit, said suit being numbered DC—22-06210, the nature of which demand is as follows:                             DALLAS COUNTY
    Suit on OTHER PERSONAL INJURY etc. as shown on said petition, a copy of which accompanies                              SERVICE FEES
    this citation.   If this citation is not served, it shall   be returned unexecuted.                                       NOT PAID

    WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
     Given under my hand and the Seal of said Court at ofﬁce on this the 23rd day of June, 2022

     ATTEST: FELICIA PITRE,
     Clerk of the District Courts of Dallas County, Texas


               By
                                  ’   Pl                  ,   Deputy
                                                                                          *7:
                GAY LANE
                    Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22                                            Page 45 of 72 PageID 56


                                                                                     OFFICER'S RETURN
Cause No. DC-22-06210

Court No.: 95th District Court

Style: SANDRA LOYOLA
vs.
WALMART, INC,       et   a1


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by




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each, in person, a true copy of this Citation together
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delivery. The distance actually traveled by me serving
witness my hand.
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                     For Notary                               $                          By                                                             Deputy

                                                                  (Must be veriﬁed if served outside the State of Texas.)
     Signed and sworn to by the said ”9031] Km)                        ﬁn} 5119 (h                  before me this         WW     day of      MAU        6
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                                                      CARRIE MICHELLE DEAN                                 000016             WW“       0102
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                                            “43?“:       Nam ID 133563213
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       Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22          Page 46 of 72 PageID 57
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.




Envelope ID: 66210258
Status as of 7/13/2022 9:55 AM CST

Associated Case Party: SANDRA LOYOLA

Name                BarNumber   Email                        TimestampSubmitted     Status
GABRIELA RIVEROS                gabriel@riveroslawfirm.com   7/11/2022 5:10:00 PM   SENT
Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22   Page 47 of 72 PageID 58




               TAB NO. 11
                                                                                                                                                     FILED
                                                                                                                                          7/11/2022 5:14 PM
 FORM N0. 353-3—CITAT10N                                                                                                                  FELICIA PITRE
                          Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22                Page 48 of 72 PageID 59                       DISTRICT CLERK
 THE STATE OF TEXAS                                                                                                    ESERVE        DALLAS CO., TEXAS
                                                                                                                                  SADAF RAJPUT DEPUTY

 To: WAL-MART STORES TEXAS, LLC INDIVIDUALLY AND IOR D/B/A                                                           CITATION
 WALMART SUPERCENTER# 4530
 BY SERVING [TS REGISTERED AGENT CT CORPORATION SYSTEM
 1999 BRYAN STREET, STE 900                                                                                        No.: DC-22-06210
 DALLAS TX 75201

GREETINGS:                                                                                                         SANDRA LOYOLA
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                               vs.

answer with the clerk who issued this citation by 10 o'clock am. of the                                        WALMART, INC, et al
                                                                            Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you. In addition to ﬁling a written answer with the clerk,
                                                                              you may be required to                   IssﬁED
make initial disclosures to the other parties of this suit. These disclosures
                                                                              generally must be made     on this the 23rd day of June, 2022
no later than 30 days after you ﬁle your answer with the clerk. Find out more at
TexasLawHelp.org. Your answer should be addressed to the clerk of the 95th District Court at
600 Commerce Street, Dallas, Texas 75202.                                                                           FELICIA PITRE
                                                                                                                Clerk District Courts,
  Said Plaintiff being SANDRA           LOYOLA                                                                     Dallas County, Texas

Filed in said Court 9th day of June, 2022 against                                                            By:   GAY LANE, Deputy
 WALMART, INC. INDIVIDUALLY AND/ OR D/B/A WALMART SUPERCENTER #4530                                             Attorney for Plaintiff
; WAL—MART STORES TEXAS, LLC INDIVIDUALLY AND /OR D/B/A WALMART                                              GABRIEL A RIVEROS
SUPERCENTER# 4530; WAL-MART REALTY COMPANY INDIVIDUALLY AND/ OR                                           THE RIV EROS LAW FIRM PLLC
D/B/A WALMART SUPERCENTER# 4530; WAL-MART ASSOCIATES, INC                                                     1925 E BELT LINE RD
INDIVIDUALLY AND/ OR D/B/A WALMART SUPERCENTER# 4530.; WAL-MART                                                    STE 420
REAL ESTATE BUSINESS TRUST INDIVIDUALLY AND/ OR D/B/A WALMART                                                 CARROLTON TX 75006
SUPERCENTER# 4530; EDWARD TAFOYA                                                                                    214-385-6607
                                                                                                             gabriel@riveroslawﬁrm.com
For Suit, said suit being numbered DC-22-06210, the nature of which demand is as follows:                          DALLAS COUNTY
Suit on OTHER PERSONAL INJURY etc. as shown on said petition, a
                                                                       copy of which accompanies                    SERVICE FEES
this citation.   If this citation is not served, it shall be returned unexecuted.
                                                                                                                       NOT PAID
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
 Given under my hand and the Seal of said Court at ofﬁce on this the 23rd
                                                                          day of June, 2022
 ATTEST: FELICIA PITRE,
 Clerk of the District Courts of Dallas County, Texas


                             =

           By                    l1                ,   Deputy                       $\.
           GAY LANE                                                                 3":
                     Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22                                      Page 49 of 72 PageID 60


                                                                         OFFICER'S RETURN
Cause No. DC-22-06210

Court No.: 95th District Court

Style: SANDRA LOYOLA
vs.
WALMART, INC., et a1

Came to hand on the                [3"                 day of             jUU‘W                                   20    27,               5‘. 06                     l9
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each, in person, a true copy   of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same                                        date of
delivery. The distance actually traveled by me in serving such process was                                    miles and my fees are as follows:              To certify which
witness my hand.
                     For serving Citation       $                                                    0’ '                            ”523 f’ai—J
                     For mileage                $                            of                                   County,
                     For Notary                                              By                                                                    Deputy
                                                    (Must be veriﬁed      if served outside the State of Texas )
     Signed and sworn to by the said                                                        before me this             (i     day of      QA Lil /\                         ,
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       Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22          Page 50 of 72 PageID 61
                         Automated Certificate of eService
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Envelope ID: 66210469
Status as of 7/13/2022 9:57 AM CST

Associated Case Party: SANDRA LOYOLA

Name                BarNumber   Email                        TimestampSubmitted     Status
GABRIELA RIVEROS                gabriel@riveroslawfirm.com   7/11/2022 5:14:53 PM   SENT
Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22   Page 51 of 72 PageID 62




               TAB NO. 12
                                                                                                                                                        FILED
                                                                                                                                             7/11/2022 5:18 PM
 FORM N0. 353—3—CITATION                                                                                                                    FELICIA PITRE
                           Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22                   Page 52 of 72 PageID 63                     DISTRICT CLERK
 THE STATE OF TEXAS                                                                                                       ESERVE       DALLAS co., TEXAS
                                                                                                                                    SADAF RAJPUT DEPUTY

  To:     WALMART INC. INDIVIDUALLY AND l 0R D/B/A WALMART SUPERCENTER #4530                                            CITATION
          BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM
          1999 BRYAN STREET, STE 900
          DALLAS TX 75201                                                                                              No.: DC-22—06210

GREETINGS:
You have been sued. You may employ an attorney. If you or your                                                         SANDRA LOYOLA
                                                                     attorney do not ﬁle a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the                                                     vs.
                                                                         Monday next following the
expiration of twenty days after you were served this citation and petition, a default                              WALMART, INC, et a:
                                                                                         judgment may
 be taken against you. In addition to ﬁling a written answer with the
                                                                         clerk, you may be required to
 make initial disclosures to the other parties of this suit. These disclosures
                                                                                generally must be made                    IssfiED
 no later than 30 days after you ﬁle your answer with the clerk. Find out more at
                                                                                                             on this the 23rd day of June, 2022
 TexasLawHelp.org. Your answer should be addressed to the clerk of the 95th District Court at
 600 Commerce Street, Dallas, Texas 75202.

  Said Plaintiff being      SANDRA LOYOLA
                                                                                                                        FELICIA PITRE
                                                                                                                    Clerk District Courts,
                                                                                                                    Dallas County, Texas
Filed in said Court 9th day of June, 2022 against
                                                                                                                 By:   GAY LANE, Deputy
 WALMART, INC. INDIVIDUALLY AND/ OR D/B/A WALMART SUPERCENTER #4530
; WAL-MART STORES TEXAS, LLC INDIVIDUALLY AND IOR D/B/A
                                                        WALMART                                                     Attorney for Plaintiff
SUPERCENTER# 4530; WAL-MART REALTY COMPANY INDIVIDUALLY AND/ 0R                                                   GABRIEL A RIVEROS
D/B/A WALMART SUPERCENTER# 4530; WAL-MART
                                            ASSOCIATES, INC                                                   THE RIVEROS LAW FIRM PLLC
INDIVIDUALLY AND/ 0R D/B/A WALMART SUPERCENTER# 4530.; WAL-MART                                                   1925 E BELT LINE RD
REAL ESTATE BUSINESS TRUST INDIVIDUALLY AND/ OR D/B/A WALMART                                                          STE 420
SUPERCENTER# 4530; EDWARD TAFOYA                                                                                  CARROLTON TX 75006
For Suit, said suit being numbered DC—22-06210, the nature of which demand is as follows:
                                                                                                                       214-385-6607
Suit on OTHER PERSONAL INJURY etc. as shown on said                                                             gabriel@riveroslawﬁrm.com
                                                              petition, a copy of which accompanies                    DALLAS COUNTY
this citation.   If this citation is not served,   it shall be returned unexecuted.
                                                                                                                        SERVICE FEES
WITNESS: F ELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                           NOT PAID
Given under my hand and the Seal of said Court at ofﬁce on this the 23rd
                                                                         day of June, 2022
 ATTEST: FELICIA PITRE,
 Clerk of the District Courts of Dallas County, Texas
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           By
                             3   We;
                                 F1
                                                      ,   Deputy
           GAY LANE
                     Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22                                     Page 53 of 72 PageID 64


                                                                             OFFICER'S RETURN
Cause No. DC-22-06210

Court No.: 95th District Court

Style: SANDRA     LOYOLA
vs.
WALMART, INC.,       et    a1



Came to hand on the                    ‘S‘l’                                                                        20   22      , at    5010          o‘clock     P        .M.
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each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same date of
delivery. The distance actually traveled by me in serving such process was                    —miles
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witness my hand.
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                     For Notary                     $                             By                                                              Deputy
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       Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22          Page 54 of 72 PageID 65
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
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Envelope ID: 66210682
Status as of 7/13/2022 10:01 AM CST

Associated Case Party: SANDRA LOYOLA

Name                BarNumber   Email                        TimestampSubmitted     Status
GABRIELA RIVEROS                gabriel@riveroslawfirm.com   7/11/2022 5:18:31 PM   SENT
Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22   Page 55 of 72 PageID 66




               TAB NO. 13
                                                                                                                                                                                  FILED
                                                                                                                                                                       7/11/2022 5:32 PM
.FORM N0. 353-3—C1TAT10N
            Case 3:22-cv-01698-L                              Document 1-3 Filed 08/04/22                             Page 56 of 72 PageID 67
                                                                                                                                                                       FELICIA PITRE
                                                                                                                                                                     DISTRICT CLERK
    THE STATE OF TEXAS                                                                                                                              ESERVE        DALLAS co., TEXAS
                                                                                                                                                               SADAF RAJPUT DEPUTY

    To:     WAL-MART REAL ESTATE BUSINESS TRUST INDIVIDUALLY AND IOR                                                                              CITATION
    D/B/A   WALMART SUPERCENTER# 4530
    BY SERVING [TS REGISTERED AGENT CT CORPORATION SYSTEM
    1999 BRYAN STREET, STE 900                                                                                                                  N 0.: DC-22-06210
    DALLAS TX 75201

 GREETINGS:                                                                                                                                      SANDRA LOYOLA
 You have been sued. You may employ an attorney. If you or your                                                                                        v_s.
                                                                      attorney do not ﬁle a written                                         WALMART, INC, e: a1
 answer with the clerk who issued this citation by 10 o'clock am. of the
                                                                          Monday next following the
 expiration of twenty days after you were served this citation and petition, a default                              judgment may
be taken against you. In addition to ﬁling a written answer with the
                                                                        clerk, you may be required to                                               IssfJED
make initial disclosures to the other parties of this suit. These disclosures
                                                                               generally must be made                                 on this the 23rd day of June, 2022
no later than 30 days after you ﬁle your answer with the clerk. Find out more at
TexasLawHelp.0rg. Your answer should be addressed to the clerk of the 95th District Court at
600 Commerce Street, Dallas, Texas 75202.
                                                                                                                                                 FELICIA PITRE
                                                                                                                                             Clerk District Courts,
    Said Plaintiff being    SANDRA LOYOLA                                                                                                       Dallas County, Texas
Filed in said Court 9th day of June, 2022 against                                                                                               GAY LANE, Deputy
                                                                                                                                          By:

 WALMART, INC. INDIVIDUALLY AN D/ OR D/B/A WALMART SUPERCENTER #4530                                                                         Attorney for Plaintiff
;WAL-MART STORES TEXAS, LLC INDIVIDUALLY AND IOR D/B/A WALMART                                                                            GABRIEL A RIVEROS
SUPERCENTER# 4530; WAL-MART REALTY COMPANY INDIVIDUALLY AND/ OR                                                                       THE RIVEROS LAW FIRM PLLC
D/B/A WALMART SUPERCENTER# 4530; WAL-MART                                                                                                 1925 E BELT LINE RD
                                             ASSOCIATES, INC
INDIVIDUALLY AN D/ OR D/B/A WALMART SUPERCENTER# 4530.; WAL-MART                                                                                STE 420
REAL ESTATE BUSINESS TRUST INDIVIDUALLY AND] OR D/B/A WALMART                                                                              CARROLTON TX 75006
SUPERCENTER# 4530; EDWARD TAFOYA                                                                                                                   214-385-6607
For Suit, said suit being numbered DC-22—06210, the nature of which demand is as follows:                                                gabriel@riveroslawﬁrm.com
Suit on OTHER PERSONAL INJURY etc. as shown on said
                                                                                                                                                DALLAS COUNTY
                                                              petition, a copy of which accompanies                                              SERVICE FEES
this citation.   If this citation is not served,   it shall be returned unexecuted.
                                                                                                                                                    NOT PAID
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
Given under my hand and the Seal of said Court at ofﬁce on this the 23rd
                                                                         day of June, 2022
 ATTEST: FELICIA PITRE,
 Clerk of the District Courts of Dallas County, Texas
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            By
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                                 ll                   ,   Deputy                            a.
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            GAY LANE
                     Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22                                     Page 57 of 72 PageID 68


                                                                          OFFICER'S RETURN
 Cause No. DC-22-06210

 Court No.: 95th District Court

Style: SANDRA      LOYOLA
 vs.
WALMART, INC, et a1

Came to hand on the                                  day of
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each, in person, a true copy of this Citation together with the
                                                                 accompanying copy of this pleading, having ﬁrst endorsed on same date of
delivery. The distance actually traveled by me in serving such proces was           miles and my fees are as follows:
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       Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22          Page 58 of 72 PageID 69
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
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certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.




Envelope ID: 66211359
Status as of 7/14/2022 9:33 AM CST

Associated Case Party: SANDRA LOYOLA

Name                BarNumber   Email                        TimestampSubmitted     Status
GABRIELA RIVEROS                gabriel@riveroslawfirm.com   7/11/2022 5:32:33 PM   SENT
Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22   Page 59 of 72 PageID 70




               TAB NO. 14
                                                                                                                                               FILED
                                                                                                                                   8/2/2022 10:55 AM
                                                                                                                                        FELICIA PITRE
    Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22                                         Page 60 of 72 PageID 71                 DISTRICT CLERK
                                                                                                                                 DALLAS CO., TEXAS

                                                    per            A
                                                                               C             y
                                                                       Professional Corporation
                                                                                                                                Kellie Juricek DEPUTY




JAMES N. KURITZKES                                                                                                        214-712-9532
Attorney at Law                                                                                         James.Kmitzkes@CooperScully.com


                                                                                          August 2, 2022

Clerk of Court
95th District Court
George L. Allen, Sr. Courts Building
600 Commerce Street Box 640
Dallas, TX 75202

       Re:        Sandra Loyola v. WalMart, Ina, et al.
                  Cause No. DC-22-06210
                  In the 95th Judicial District Court, Dallas County, Texas

Dear Madam Clerk:

        Enclosed for ﬁling, please ﬁnd an Original Answer for Defendant Wal-Mart Stores of
Texasl A good faith attempt was made to ﬁle the Answer prior to 10:00 AM on August 1, 2022
Via the statewide e—File system. However, due to a statewide outage of the system, it was not
possible to meet that deadline.

       Pursuant to the alternative service methods allowed under Tex. R. Civ. P. 21(6) and 21a
the Answer was served on opposing counsel and the Court shortly after the 10:00 AM deadline
on August 1, 2022. A copy of the email transmitting the Answer is also enclosed with this letter.

          Please do not hesitate to contact me with any questions.

                                                                                    Very Truly Yours,
                                                                                    /s/ James N. Kuritzkes

                                                                                    James N. Kuritzkes

cc: Gabriel A. Riveros
The Riveros Law Firm
1925 E. Belt Line Road, Suite 420
Carrollton, Texas 75006

JNK/hms


  In the Petition, Defendant Wal-Mart Stores of Texas was incorrectly named as the following entities: WALMART, lNC.,
1




Individually and/or d/b/a WALMART SUPERCENTER #4503, WAL-MART STORES TEXAS, LLC, Individually and/or d/b/a
WALMART SUPERCENTER #4503, WAL-MART REALTY COMPANY, Individually and/or d/b/a WALMART
SUPERCENTER #4503, WAL-MART ASSOCIATES, INC., Individually and/or d/b/a WALMART SUPERCENTER #4503,
WALMARTREAL ESTATE BUSINESS TRUST, Individually and/or d/b/a WALMART SUPERCENTER #4503
                                   Founders Square 900 Jackson Street, Suite 100 Dallas, TX 75202
                                           Telephone (214) 712—9500 Fax (214) 712—9540
                                                      www.cooperscully.com
                  Houston Ofﬁce(713) 236—6800                                           San Francisco Ofﬁce(415) 956—9700
           Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22                     Page 61 of 72 PageID 72

Kuritzkes, James

From:                             Kuritzkes, James
Sent:                             Monday, August 1, 2022 10:06 AM
To:                               'gabriel@rvieroslawfirm.com'
Cc:                               Savant, Heather; 'kalonzo@da|lascourts.org'
Subject:                          DC—22-O621O Loyal v. Wal Mart, et al.
                                                |




Attachments:                      2022.8.1 - Wal Mart's Original Answer—c.pdf



Gabriel,

The efile portal is currently down as they are migrating to the new system. Pursuant to TRCP 21a, please accept service
of Defendant Wal-Mart’s Original Answer

Madam clerk, please note that a good faith attempt was made to file the Answer prior to 10am this morning, but timely
filing was prevented by technological difficulties with the efile system.
       Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22           Page 62 of 72 PageID 73


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Heather Savant on behalf of Derek Davis
Bar No. 793591
heather.savant@cooperscully.com
Envelope ID: 66874281
Status as of 8/2/2022 11:38 AM CST
Associated Case Party: SANDRA LOYOLA
Name                 BarNumber    Email                        TimestampSubmitted     Status
GABRIELA RIVEROS                  gabriel@riveroslawfirm.com   8/2/2022 10:55:01 AM   SENT
             Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22             Page 63 of 72 PageID 74


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Bar No. 793591
heather.savant@cooperscully.com
Envelope ID: 66874281
Status as of 8/2/2022 11:38 AM CST
Associated Case Party: WAL-MART STORES TEXAS, LLC
Name               BarNumber   Email                              TimestampSubmitted     Status
Kim Denton                     kim.denton@cooperscully.com        8/2/2022 10:55:01 AM   SENT
James Kuritzkes                james.kuritzkes@cooperscully.com   8/2/2022 10:55:01 AM   SENT
Heather Savant                 heather.savant@cooperscully.com    8/2/2022 10:55:01 AM   SENT
Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22   Page 64 of 72 PageID 75




               TAB NO. 15
                                                                                                         FILED
                                                                                              8/2/2022 10:55 AM
                                                                                                  FELICIA PITRE
     Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22          Page 65 of 72 PageID 76         DISTRICT CLERK
                                                                                           DALLAS CO., TEXAS
                                                                                          Kellie Juricek DEPUTY


                                 CAUSE NO. DC-22-06210
SANDRA LOYOLA                                §       IN THE DISTRICT COURT
                                             §
         PLAINTIFF,
                                             §
V.                                           §
                                             §
                                             §
WALMART, INC., Individually and/
0r d/b/a WALMART                             §
SUPERCENTER #4503, WAL-MART                  §
STORES TEXAS, LLC, Individually              §
and/0r dﬂ3/a WALMART                         §
SUPERCENTER #4503, WAL-MART                  §
                                             §      95TH JUDICIAL     DISTRICT
REALTY COMPANY, Individually
and/0r d/b/a WALMART                         §
SUPERCENTER #4503, WAL-MART                  §
                                             §
ASSOCIATES, INC., Individually
and/0r dﬂ3/a WALMART                         §
SUPERCENTER #4503 , WALMART                  §
REAL ESTATE BUSINESS                         §
                                             §
TRUST, Individually and/0r d/b/a
WALMART SUPERCENTER #4503                    §
and EDWARD TAFOYA,                           §
         DEFENDANTS.                         §     DALLAS COUNTY, TEXAS


                  DEFENDANT WAL-MART STORES TEXAS, LLC’S
              ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, WAL-MART STORES TEXAS, LLC (incorrectly named WALMART,

INC., Individually and/or d/b/a WALMART SUPERCENTER #4503, WAL-MART STORES

TEXAS, LLC, Individually    and/or d/b/a   WALMART SUPERCENTER           #4503,   WAL-MART

REALTY COMPANY,        Individually and/or d/b/a WALMART SUPERCENTER #4503,            WAL-

MART ASSOCIATES, INC., Individually        and/or d/b/a   WALMART SUPERCENTER         #4503   ,


WALMARTREAL ESTATE BUSINESS TRUST, Individually                    and/or d/b/a   WALMART

SUPERCENTER #4503) (“Defendant”) in        the above-styled and numbered cause, and ﬁles this


Original Answer to Plaintiffs Original Petition, and in support hereof would respectfully show

DEFENDANT’S ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION                      PAGE 1 OF 6
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the Court the following.

                                                    I.
                                          GENERAL DENIAL
        1.     Defendant denies each and every, all and singular, the material allegations made

and contained in the Original Petition and any petition which Plaintiff may hereinafter ﬁle by


way of amendment or supplement, and, in accordance with Texas law, demands that Plaintiff

prove by a preponderance of the credible evidence each and every such allegation made and

contained therein, or the prevailing standard of proof required by applicable law.

                                                   II.
                                     AF FIRMATIVE DEFENSES
       2.      Pleading further, and in the afﬁrmative, Defendant asserts the doctrine of

comparative causation as set forth in Chapter 33 of the TEXAS CIVIL PRACTICE            & REMEDIES

CODE, which may bar any recovery by Plaintiff, or may in the alternative reduce the amount of

recovery by Plaintiff based on the Plaintiff’s own percentage of fault.

       3.      Pleading further,     if   necessary, Plaintiff failed to mitigate Plaintiff’s damages

which may have resulted from the occurrence made the basis of this lawsuit.

       4.      In the alternative, and without waiving the foregoing, Defendant afﬁrmatively

pleads the defense set forth in TEXAS CIVIL PRACTICE           & REMEDIES CODE    § 18.091, requiring

Plaintiff to prove Plaintiff’ s loss of earning and/or loss of earning capacity in the form which

represents Plaintiff’s net loss after reduction for income tax payments or unpaid tax liability on

said loss or earning claim pursuant to any federal income tax law. Id. Additionally, Defendant

requests the Court to instruct the jury as to whether any recovery for compensatory damages

sought by the Plaintiff,   if any, is subject to federal to state income taxes.
       5.      Additionally, to the extent Plaintiff‘ s medical expenses exceed the amount

actually paid on Plaintiff’s behalf to Plaintiff’s medical providers, Defendant asserts the statutory

DEFENDANT’S ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION                             PAGE 2 OF 6
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defense set forth in § 41.0105   of the TEXAS CIVIL PRACTICE & REMEDIES CODE. Thus, recovery

of medical or health care expenses incurred by Plaintiff, if any,   are limited to the amount actually


paid or incurred by or on behalf of Plaintiff.

        6.      Pleading further, Defendant would show that it is entitled to a credit or offset

equal to the amount of any and all sums that the Plaintiff has received, or may hereinafter

receive, by way of settlement with any person or party. Alternatively, pursuant to Rule 48 of the

TEXAS RULES 0F CIVIL PROCEDURE, Defendant contends that it is entitled to a proportionate

reduction of any damages found against it based upon the percentage of negligence attributable

to the settling tortfeasor, cross claimant, designated third party, or other party to this case.

        7.      Pleading further, and in the afﬁrmative, Defendant alleges Plaintiff’s claims for

pre-judgment interest are limited by the dates and amounts set forth in § 304.101 of the TEXAS

FINANCE CODE and § 41.007 of the TEXAS CIVIL PRACTICE & REMEDIES CODE.

        8.      Pleading further, and in the afﬁrmative, Defendant invokes §4l .0105 of the

TEXAS CIVIL PRACTICE & REMEDIES CODE concerning Plaintiff‘s claim for the recovery of health

care expenses and other related damages, past and future.

        9.      Pleading further, and in the afﬁrmative, Defendant asserts the doctrine of

proportionate responsibility of TEXAS CIVIL PRACTICE & REMEDIES CODE Chapter 33, which

may bar any recovery by Plaintiff, or may in the alternative, reduce the amount of recovery by

Plaintiff based on Plaintiff’s own percentage of fault.

        10.     Pleading further, and in the afﬁrmative, Defendant would show that the alleged

occurrence made the basis    of this lawsuit was the result of circumstances and/or events that were

not of Defendant’s own creation. Defendant would further show that it acted just as a similar

situated reasonable premises owner would have acted under the same or similar circumstances




DEFENDANT’S ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION                               PAGE 3 OF 6
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surrounding the matters made the basis of this lawsuit.

       11.     Pleading further, and in the afﬁrmative, Defendant alleges that the injuries and

damages alleged by Plaintiff may be due to Plaintiff’s own negligence and recklessness in that

Plaintiff’s failure to exercise ordinary care proximately caused, in whole or in part, the alleged

injuries and damages complained of by Plaintiff. Plaintiffs acts and omissions, whether taken

together or separately, may be the sole proximate cause, or a proximate cause of the injuries and

damages Plaintiff has alleged in this lawsuit. Any recovery by Plaintiff is therefore barred, or

alternatively should be reduced in accordance with the applicable law.

       12.     Pleading further, and in the afﬁrmative, the injuries pled by Plaintiff may have

been caused, in whole or in part, by superseding and/or intervening causes, including preexisting

conditions and/or injuries and subsequently occurring injuries and/or conditions that were not

Defendant’s own creation.

       13.     Pleading further,   if   necessary, Plaintiff‘s claims may have been caused by an

unavoidable accident, Act of God, or an occurrence without any fault on the part of Defendant.

       14.     Pleading further and in the alternative, Defendant alleges that any claims for or

recovery of exemplary damages against it violates the Fifth, Eighth, and Fourteenth Amendments

to the United States Constitution, and Sections 3,        l3 and l9 of Article I of    the Texas


Constitution, because such claims as made are arbitrary, unreasonable, and Violate Defendant’s

rights to due process and equal protection of the laws.

       15.     Pleading further and in the alternative, to the extent any recovery of exemplary

damages is found to be constitutional, Defendant invokes all the limitations upon damages and

exemplary damages contained in Chapter 41 of the Texas Civil Practice & Remedies Code, both

in terms of the maximum amount of damages that can be awarded pursuant to that statute and the



DEFENDANT’S ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION                         PAGE 4 OF 6
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procedural safeguards guaranteed by the referenced provisions.

        16.    Pleading further and in the alternative, Defendant also invokes all other applicable

state law, federal law, statutory and/or common-law caps or limitations on exemplary damages.

        17.    Pleading further and in the alternative, Defendant afﬁrmatively asserts that

Plaintiff did not exercise due diligence to effectively “bring suit” within the two-year time statute

of limitation period prescribed by Chapter   16   of the Texas Civil Practice & Remedies Code. See

also Grant v. DeLeon, 786 S.W.2d 259, 260 (Tex. 1990).

                                                  III.
                                      NOTICE OF INTENT
        18.    Defendant further places Plaintiff on notice pursuant to TEXAS RULE 0F CIVIL

PROCEDURE 193.7 that may use in pretrial proceedings or at trial any and all documents and

tangible things produced in discovery by plaintiff.

                                                  IV.
                                 DEMAND FOR JURY TRIAL
        19.    In accordance with Rule 216           of   the TEXAS RULES 0F CIVIL PROCEDURE,

Defendant hereby demands a trial by jury.


       WHEREFORE, PREMISES CONSIDERED,                         Defendant prays that Plaintiff take

nothing by this suit against Defendant, that Defendant be discharged, and that the Court grant

such other and further relief, both general and special, at law and in equity to which Defendant

may be justly entitled.




DEFENDANT’S ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION                            PAGE 5 OF 6
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  Case 3:22-cv-01698-L Document 1-3 Filed 08/04/22              Page 70 of 72 PageID 81



                                           Respectfully submitted,

                                           COOPER & SCULLY, P.C.

                                           By: /s/ James N. Kuritzkes
                                           DEREK S. DAVIS
                                           Texas Bar No. 00793591
                                           Email: Derek.Davis@CooperScully.com
                                           JAMES N. KURITZKES
                                           Texas Bar No. 24120956
                                           Email: James.Kuritzkes@CooperScully.com

                                           900 Jackson Street, Suite 100
                                           Dallas, Texas 75202
                                           Telephone: (214) 712-9500
                                           Facsimile: (214) 712-9540

                                           ATTORNEYS FOR DEFENDANT
                                           WAL-MART STORES TEXAS, LLC

                             CERTIFICATE OF SERVICE
       I hereby certify that on the 1“ day of August, 2022, a true and correct copy of the
foregoing document was served on counsel of record via the Court’s ECF ﬁling service as
follows:

       Gabriel A. Riveros
       The Riveros Law Firm, PLLC
       1925 E. Belt Line Road, Suite 420
       Carrollton, Texas 75006
       Telephone: (214) 385 -6607
       Facsimile: (214) 593-3628
       Email: Gabriel@riveroslawﬁrm.com
      ATTORNEY FOR PLAINTIFF
                                                  /S/ Derek S. Davis
                                                  DEREK    S.   DAVIS




DEFENDANT’S ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION                   PAGE 6 OF 6
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GABRIELA RIVEROS                  gabriel@riveroslawfirm.com   8/2/2022 10:55:01 AM   SENT
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James Kuritzkes                james.kuritzkes@cooperscully.com   8/2/2022 10:55:01 AM   SENT
Heather Savant                 heather.savant@cooperscully.com    8/2/2022 10:55:01 AM   SENT
